IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA,

V. No. 8:08 CR 318

CHARLES JACKSON FRIEDLANDER,

ee a al

Defendant )
DECLARATION OF SARA BEYER

I, Sara Beyer, do hereby declare as follows:

1. I am currently employed by the United States Department of Justice, Federal
Bureau of Prisons (“BOP”), as the Complex Clinical Director at the Federal Correctional
Complex in Butner, North Carolina (FCC Butner). | have worked for the BOP since October 6,
2014 as a Medical officer, and have been clinical director for the last 4 years..

2. Pursuant to my official duties, I am a Physician, and | serve as the Complex
Clinical Director at FCC Butner, and work in the Health Services Division. As the Complex
Clinical Director, I supervise the institution’s medical staff at the Federal Prison Camp in Butner,
North Carolina (FPC Butner), as well as several other institutions comprising FCC Butner. I am
responsible for the clinical care provided at the institution, including, but not limited to:
reviewing applications and credentials for membership to the medical staff; interviewing
prospective physicians and mid-level providers; implementing and monitoring in-house
Continuing Professional Education training; maintaining the quality of health records;

supervising Medical Officers; and evaluating patient care through an ongoing quality assurance
program that identifies problems and their resolution. I provide clinical oversight and am
responsible for all health care delivered.

3. As a part of my official duties, I have access to official BOP records pertaining to
individuals presently or previously housed at BOP institutions. The above records, which are
used in the ordinary course of the BOP operations, include the official BOP medical records
pertaining to Charles Friedlander, Register Number 50328-018, who is currently confined at the
Low Security Correctional Institution in Butner, North Carolina (*LSCI Butner’).

A, I am aware that Mr. Friedlander has filed a motion with the Court, in which he
seeks a compassionate release based upon his various medical conditions. Below is a list of the
medical conditions that Mr. Friedlander lists in his motion, each of which is followed by a brief
summary of the status of the condition, as documented in his BOP medical record:

e Type II diabetes mellitus — Diabetes is stable on current management (low dose
insulin and low dose oral medications). No recent diabetes-related urgent visits or
emergencies. His last HgbA1C was 8.0

Total erectile dysfunction — Not documented in his medical record.

Osteoarthritis — Normal age-related progression.

Extreme fatigue — Not documented in his medical record

Chronic kidney disease-stage 3 - Documented as “stable” by the nephrologist.

GERD (Gastroesophageal reflux disease) - Managed on low dose over-the-counter

medication.

Hypertension — Most recent blood pressure was excellent at 112/68.

e Prostate carcinoma/prostate hypertrophy — He refused prostate biopsy time and again
AMA so there is no proof that he has prostate cancer. He does have prostate
hypertrophy with a hard area concerning for cancer but continuously refuses biopsy.

e Sciatica — Not specifically mentioned in his record, but he has been treated for low
back pain.

e Gout — Currently stable.

Multi basal cell carcinomas — He has a history of this and has been followed by
dermatology, last seen by dermatology on 4/11/19 and no worrisome lesions were
seen at that time, other than a benign Actinic Keratosis that was frozen at that time..

e Vincent’s Stomatitis in mouth/gums (Acute infectious gingivostomatitis) — followed
by dental

e Elevated cholesterol — Currently managed with medication. Lipid panel drawn on
5/23/19 was completely within normal limits.

 

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e Right branch bundle block — Currently stable/uncomplicated.

e Diabetic retinopathy — Currently stable.

e Severe clinical depression managed via_ psych services/medications — Currently
stable.

e Elevated anxiety disorder managed via psych services/medications — Currently stable.

e Degenerative back disease - Managed with over-the-counter medications.

e Wheelchair bound since 2012 and wears diapers due to limited control of his bladder
— He does receive incontinence supplies he is able to walk independently and does so
often. He has reported very few falls to Medical in the past several months, and has
shown no obvious injuries during those encounters.

5. . Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.

Executed this Su, day of July, 2019.

2. frag QHD

Sara Beyer, M.D.

Complex Clinical Dire
Federal Correctional Complex
Butner, North Carolina
